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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

PRISON LEGAL NEWS, - CIVIL ACTION
PLAINTIFF,
CASE NO.: 05-1812 (RBW)
Vv.

HARLEY G. LAPPIN, DIRECTOR,
FEDERAL BUREAU OF PRISONS,
DEFENDANTS

DECLARATION OF VICKIE PETRICKA

I, the undersigned, Vickie Petricka, do hereby make the following

unsworn declaration, pertinent to the above-styled and numbered cause.

1. Iam a Discipline Hearing Officer for the Federal Bureau of Prisons
(Bureau), at the Federal Correctional Complex, (FCC) Tucson,
Arizona. At the time of the Prison Legal News request, I was the
Supervisory Paralegal for the Federal Bureau of Prisons (BOP) at
the Western Regional Office, located in Dublin, California. In this
position, my responsibilities and duties included supervising legal
administrative staff in the review and processing of FOIA requests.
As a part of my duties, I oversaw FOIA processing and occasionally
assisted assigned staff in reviewing responsive documents. This

declaration supplements my prior declaration.

2. Although I have no specific recollection of the FOIA request related
to this lawsuit, I generally understood that request 2003-08557,
sought copies of all documents showing all money paid by the Bureau

of Prisons for lawsuits and claims against it from the dates of
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January 1, 1996, through and including July 31, 2003. IT was
contacted by Wilson Moorer, to search for records in response to

this request.

The responsive records maintained by the Western Regional Office
include Federal Tort Claim Act records and civil litigation records.
All responsive records maintained by the Western Regional Office
were controlled by that office. To my knowledge, no other records

as described in paragraph two were maintained by that office.

To the best of my knowledge, the most thorough means of creating
an accurate and complete list of responsive records maintained in
the Western Regional Office was to review Lawpack (a BOP legal

database) and the Western Regional Counsel's monthly reports.

To search Lawpack, a query was run for the time period in question
for claims paid in the Western Regional Office. To search the
monthly reports, staff had to review the monthly reports for the
time period in question for claims paid. Based on the review of
Lawpack and the Regional Counsel’s monthly reports, it was determined
that all responsive files for the Western Region were identified
anda list of the identified files created. At the time, the Lawpack

database and the Regional Counsel’s monthly report was the only

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source that would reveal responsive documents maintained by the

Western Region.

6. Based on the list created as a result of the review, files identified
as meeting the search criteria were then requested through the
National Archive and Records Administration. Once received, the
files were reviewed and the responsive files were copied and

forwarded to the BOP Freedom of Information/Privacy Act Office.

I declare under the penalty of perjury and pursuant to 28 U.S.C.
§ 1746 that the foregoing is true and correct to the best of my knowledge

and belief.

Executed this /“<f day of April of 2010.

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Lite bib hen
Vickie Petricka
Discipline Hearing Officer
FCC Tucson, Arizona

